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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WAYNE BALIGA, derivatively on behalf of
LINK MOTION INC. (F/K/A NQ MOBILE INC.)                                1:18-cv-1 I 642

                               Plaintiff,
               -against-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),
VINCENT WENYONG SHI,                                               STIPULATED BRIEFING
JIA LIAN,                                                               SCHEDULE
XIAO YU,

                               Defendants,
               -and-

LINK MOTION INC. (F/K/A NQ MOBILE INC.),

                               Nominal Defendant.



       WHEREAS, on August 22, 20 I 9, during a telephone conference, the Honorable Magistrate
Judge Debra C. Freeman directed counsel for Plaintiff and counsel for Defendant Vincent Shi (the
"parties") to, inter alia, submit a proposed briefing schedule on Plaintiff's application to serve
Defendant Shi by alternative means of service.

       WHEREAS, in subsequent letters to the Court on August 29, 20 I 9 (Dkt. 95) and September
9, 2019 (Dkt. 96), the parties proposed a briefing schedule as follows: ajoint initial submission due
on September 25, 2019; and ajoint reply submission due on October 2, 2019.

       WHEREAS, on September 17, 2019, the parties called Judge Freeman's chambers in order to
extend the proposed briefing schedule by one week, as follows: joint initial submission due on
October 2; and joint reply submission due on October 9, 2019. The clerk informed the parties that she
would let Judge Freeman know of the modification and ask the Judge to So Order the schedule.

       WHEREAS, on September 25, 2019, after having not heard back from the Court, Defendant
Shi, out of an abundance of caution, filed his initial submission. Plaintiff, assuming the modified
schedule was in effect, did not make a submission.
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           WHEREAS, on September 26, 2019, the parties met and conferred regarding the issue, and it
is thus:

           HEREBY STIPULATED AND AGREED, by and between the undersigned, that Plaintiff's
submission on the issue of serving Defendant Shi by alternative means of service shall be due on
October 2, 2019; and

           IT IS FURTHER STIPULATED AND AGREED, that the pa1ties shall meet and confer
after October 2, 2019 to determine whether the parties wish to submit any reply submissions, and, if
so, the parties shall advise the court accordingly.

Submitted: September 27, 2019




                                                            Isl Michael J. Maloney
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